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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NORTH DAKOTA
                                    SOUTHWESTERN DIVISION

United States of America,       )
                                )
              Plaintiff,        )     ORDER OF DETENTION
                                )
        vs.                     )
                                )     Case No.: 1:09-cr-040
Jesse Joe McKenna,              )
                                )
              Defendant.        )
______________________________________________________________________________

          The court convened a detention hearing in the above-entitled action on November 30, 2009. AUSA

Rick Volk appeared on the Government’s behalf. Attorney Kent Morrow appeared on the Defendant’s

behalf.

          There was no dispute that the Defendant violated the conditions of pre-sentence release as alleged

in the petition. The Defendant previously entered a plea of guilty to the offense of voluntary manslaughter

and is awaiting sentencing. The Government had advised the court that it will be recommending a term

of imprisonment for the Defendant.

          Thus, for the reasons articulated at the close of the hearing, the court finds that the Defendant has

not demonstrated by clear and convincing evidence that he poses no risk of flight. See 18 U.S.C. §

3143(a). The Defendant’s pre-sentence release is hereby REVOKED. The Defendant is remanded into

the committed to the custody of the Attorney General or his designated representative for confinement in

a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being

held in custody pending appeal. The Defendant shall be afforded a reasonable opportunity for private

consultations with defense counsel. On order of a court of the United States or on request of an attorney

for the Government, the person in charge of the corrections facility shall deliver the Defendant to the

United States Marshal for the purpose of an appearance in connection with a court proceeding.

          Dated this 30th day of November, 2009.

                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr.
                                                    United States Magistrate Judge
